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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

   Civil Action No. 17-cv-01654-MSK-NRN

   SAUNDERS-VELEZ,

          Plaintiff,

   v.

   COLORADO DEPARTMENT OF CORRECTIONS (CDOC),
   TRAVIS TRANI, in his official capacity as Director of Prisons,
   MIKE ROMERO, in his official and individual capacities as Colorado Territorial Correctional
   Facility Warden,
   RICK RAEMISCH, in his official capacity as Executive Director of Colorado Department of
   Corrections,
   RYAN LONG, in his official capacity as Denver Reception and Diagnostic Center Warden,
   KELLIE WASKO, in her official capacity as Deputy Executive Director of Colorado
   Department of Corrections,
   DENVER RECEPTION AND DIAGNOSTIC CENTER (DRDC), and
   THE COLORADO TERRITORIAL CORRECTIONAL FACILITY (CTCF),

         Defendants.
   ______________________________________________________________________________

         RESPONSE TO MOTION TO DISMISS THIRD AMENDED COMPLAINT
                                      [DOC. 99]
   ______________________________________________________________________________

          Plaintiff Lindsay Saunders-Velez, by and through her attorneys, Paula Greisen and

   Meredith A. Munro of KING & GREISEN, LLP, and Shawn Thomas Meerkamper and Lynly

   Egyes, of TRANSGENDER LAW CENTER, hereby file this Response to Defendants’ Motion to

   Dismiss the Third Amended Complaint [Doc. 99], and states as follows 1:


   1
     To date, Defendants have filed 4 motions to dismiss [Docs. 23, 54, 78 and 99]. This Court has
   already denied Defendants’ motion to dismiss Ms. Saunders-Velez’s First and Second Claims for
   Relief based on the doctrine of sovereign immunity. [Doc. 43 at p. 6.] Defendants’ latest motion
   to dismiss [Doc. 99] tracks much of their third motion to dismiss [Doc. 78], although they raises
   new argument in reply to arguments Plaintiff made in response the Defendants’ third motion to
   dismiss [Doc. 96]. Plaintiff thus submits this Repsonse.
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                                             INTRODUCTION

           In its Motion to Dismiss the Third Amended Complaint (Corrected), Defendants correctly

   state that the crux of this entire case is that “Plaintiff is being treated as a male rather than the

   gender Plaintiff identifies with, female.” [Doc. 78, p. 1.] Defendants do not deny the wealth of

   law that acknowledges the validity of claims based on the Fourth Amendment for non-exigent

   cross-gender searches, nor do they deny that the Eighth Amendment requires prisons to provide

   medically necessary treatment, including to persons who are transgender. Instead, they

   summarily assert that the law does not recognize a transgender woman’s right to be treated as a

   female. Defendants’ arguments are without merit.

           The Defendants’ argument in support of dismissing Plaintiff’s claim under 42 U.S.C.

   Section 1985(2) against Defendant Romero is also without merit. Ms. Saunders-Velez

   adequately pled the requisite elements of a Section 1985(2) claim – including facts sufficient to

   plausibly allege an agreement to intimidate her from pursuing this case and that she has been

   injured by Defendants’ conduct. Finally, because Plaintiff’s Section 1985(2) claim is against

   Defendant Romoero in his individual capacity, he is not immunie from liability under the 11th

   Amendment.

                                                ARGUMENT

                                            Standard of Review

           In deciding a motion to dismiss under Rule 12(b)(6), all well-pleaded allegations in the

   Complaint must be accepted as true and the allegations viewed in the light most favorable to the

   nonmoving party. Stidham v. Peace Officer Standards & Training, 265 F.3d 1144, 1149 (10th

   Cir. 2001). A claim is only subject to dismissal if it fails to state a claim for relief that is

   “plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

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   I.     Plaintiff Has sufficiently Pled a Claim for Relief under the Fourth Amendment.

          A.       Well-Pled Factual Allegations Deemed True.

          As the Court is aware, the allegations regarding Ms. Saunders-Velez’s Fourth

   Amendment claim overlaps with those for her Eighth Amendment claim as both involve the

   physical searches of Ms. Saunders-Velez by male officers. There are over fifty factual

   allegations in the Third Amended Complaint [Doc. 95], almost all of which provide specific

   details about her Fourth and Eighth Amendment claims, including details on when and how she

   has been subjected to unreasonable searches and delineating the ways that Defendants are

   denying her necessary medical care. Specifically, Ms. Saunders-Velez has alleged:

               •   Ms. Saunders-Velez is a transgender woman being held in custody at a
                   male correctional facility in Colorado. Second Amended Complaint at ¶ 1.

               •   She has been diagnosed with Gender Dysphoria and Post Traumatic Stress
                   Disorder (PTSD) from childhood sexual and emotional abuse. Id.

               •   Ms. Saunders-Velez’s psychiatric and medical condition is so severe that
                   she self-injured her genitals at an early age. She remains extremely
                   depressed and takes anti-depressant medication. Id. at ¶ 31.

               •   Ms. Saunders-Velez has presented as a female since she was a child, has
                   been on hormone therapy since 2015, and has developed female secondary
                   sex characteristics, including full breasts, a feminine shape, soft skin, and
                   a reduction in male attributes. Id. at ¶¶ 1, 33.

               •   From 2014 until 2017, Ms. Saunders-Velez was housed at the Colorado
                   Division of Youth Services in the female facility. During her early years
                   there, Ms. Saunders-Velez was denied medically necessary hormone
                   treatment. Id. at ¶ 34.

               •   It was not until Ms. Saundres-Velez attempted suicide and brought a
                   lawsuit against the State of Colorado that she was provided with necessary
                   medical treatment, including hormone therapy. Id. at ¶ 34.

               •   In 2015, Dr. Thor, an expert in Gender Dysphoria and the World
                   Professional Association for Transgender Health (“WPATH”) member,


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                began assessing and treating Ms. Saunders-Velez at the request of the
                State of Colorado and her Guardian ad Litem. Id. at ¶ 29.

            •   The WPATH expert has opined that Ms. Saunders-Velez requires
                necessary medical treatment that includes hormone monitoring and
                adequate levels of psychotherapy, to be called by her female name and
                appropriate pronouns, and be allowed to express herself as a woman,
                among other requirements. Although Ms. Saunders-Velez is receiving
                hormone therapy from Defendants, she is not being provided any of the
                other treatment she needs for her Gender Dysphoria. Id. at ¶ 53.

            •   The WPATH expert also opined that Ms. Saunders-Velez’ medically and
                socially necessary treatments would be compromised if she was housed in
                an adult male correctional facility, especially noting the concern that she
                would be at risk of victimization. Id. at ¶ 35.

            •   The WPATH is the leading professional association for surgeons, doctors,
                medical researchers and others who specialize in the medical treatment of
                people with Gender Dysphoria. Based on decades of clinical experience,
                WPATH has promulgated medical standards of care for treating patients
                with Gender Dysphoria, the Standards of Care for the Health of
                Transsexual, Transgender, and Gender-Nonconforming People (Standards
                of Care). Id. at ¶ 21.

            •   The Standards of Care provide that health care for transgender individuals
                living in an institutional environment should mirror that which would be
                available to them if they were living in a non-institutional setting within
                the same community. Id. at ¶ 22.

            •   The Standards of Care provide that transgender inmates should be
                assessed individually and given appropriate treatment and provided with a
                fair and tolerant climate, which may consist of outward expression of
                “one’s internal sense of gender identity,” including hormone therapy
                and/or sex reassignment surgery, and social role transition, including
                access to gender-affirming canteen items. Id. at ¶ 23.

            •   The Standards of Care recognize that placement in a single-sex housing
                unit, ward, or pod on the sole basis of the appearance of the external
                genitalia places transgendered individuals at risk for victimization. The
                Standards provide that housing and shower/bathroom facilities for
                transgender people living in institutions should take into account their
                gender identity and role, physical status, dignity, and personal safety. Id. at
                ¶ 24.



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            •   The Prison Rape Elimination Act, 42 U.S.C. § 15601 et seq. (PREA),
                establishes a zero-tolerance standard against sexual abuse in adult prisons
                and other confinement centers. The Act requires agencies to comply with
                national standards to eliminate sexual abuse and recognizes that
                transgender inmates face elevated risks of being victimized. Id. at ¶ 25.

            •   The prison environment can be particularly harmful to transgender
                individuals, as reports (including the 2009 report by the National Prison
                Rape Elimination Commission) consistently document that transgender
                individuals are victims of sexual abuse while in custodial environments
                including lock-ups, jails and prisons, including while being searched by
                prison guards. Id. at ¶ 18.

            •   PREA Standard 115.15(a) prohibits facilities from conducting cross-
                gender strip searches or cross-gender visual body cavity searches except in
                exigent circumstances or when performed by medical practitioners. Id. at ¶
                54.

            •   PREA Standard 115.15(b) prohibits facilities from conducting cross-
                gender pat-down searches of female inmates, absent exigent
                circumstances. Id. at ¶ 55.

            •   PREA Standard 115.15(d)(f) requires facilities to train security staff how
                to conduct pat-down searches of transgender in a professional and
                respectful manner, and in the least intrusive manner possible, consistent
                with security needs. Id. at ¶ 56.

            •   Defendants are aware of the particular danger of sexual assault that
                transgender individuals face in custody, and have a stated policy purported
                to prevent this violence. However, Defendants have violated this policy,
                including by retaliating against Ms. Saunders-Velez for reporting sexual
                abuse. Id. at ¶ 26.

            •   Defendants also lack adequate policies to provide necessary protections to
                persons suffering from Gender Dysphoria. Defendants permit male guards
                to search female transgender inmates, including those with Gender
                Dysphoria. Id. at ¶ 27.

            •   Throughout her incarceration in CDOC, including while in CTCF, Ms.
                Saunders-Velez has been forced to share a cell with a man, although she is
                a woman. At times, she has been placed in a “wet” cell, which has a toilet
                in the cell and which enables other inmates to view her while she uses the
                toilet. Id. at ¶ 42.



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            •   In certain CDOC cell houses that Ms. Saunders-Velez has been placed,
                including Cell House 1 at CTCF, she had been afforded little privacy to
                shower. There have been occasions when she has been allowed to shower
                at appropriate times without men present, or in private shower locations,
                but there have also been times when she has not been provided complete
                privacy while showering and using the restroom. Id. at ¶ 43.

            •   Throughout her incarceration in CDOC, including while in CTCF, Ms.
                Saunders-Velez has been repeatedly taunted by inmates, called derogatory
                names, and threatened with sexual assault and/or been subjected to
                “requests” for sexual favors. She lives in a constant state of anxiety. Id. at
                ¶ 44.

            •   In June 2017, while she was in AVCF, Ms. Saunders-Velez was
                repeatedly subjected to searches by male guards who sexually assaulted
                her by grabbing her breasts during the searches. Ms. Saunders-Velez has
                been repeatedly subjected to unreasonable touching of her body during
                searches by male guards, including strip searches while she was housed at
                other CDOC facilities such as AVCF, DRDC, CTCF and CCF. Id. at ¶ 40.

            •   To escape a threatened sexual assault by other inmates at AVCF, Ms.
                Saunders-Velez swallowed razors and was hospitalized. She was
                thereafter sent to the CCF for treatment, and then eventually returned to
                CTCF. Id. at ¶ 41.

            •   Pat searches by male guards are an almost daily occurrence for Ms.
                Saunders-Velez. Most recently, on or about May 20, 2018, Ms. Saunders-
                Velez was pat searched by a male staff member who roughly ran his hands
                over the front of her breasts. Because of the hormones Ms. Saunders-
                Velez is taking, her breasts are particularly sensitive and touching them is
                painful. Ms. Saunders-Velez has repeatedly complained to CDOC about
                being pat-searched by male guards. Id. at ¶ 58.

            •   Throughout her incarceration at CDOC, Ms. Saunders-Velez has been
                repeatedly pat searched over her breasts and genitalia and strip searched
                by male staff members, even after she informed CDOC and CTCF that she
                does not feel safe being searched by male staff members and that she
                suffers both physical and psychological pain. Id. at ¶ 57.

            •   CDOC has not trained its staff properly regarding how to conduct pat-
                down searches of transgender inmates in a professional and respectful
                manner, and in the least intrusive manner possible, consistent with security
                needs. Id. at ¶ 62.



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            •   Ms. Saunders-Velez has been raped twice while under the custody of
                CDOC, once in December 2017 and again in April 2018. Id. at ¶ 45.

            •   On multiple occasions, when the taunts and bullying became too
                threatening for her to ignore, Ms. Saunders-Velez went to CDOC staff
                with her fears. Instead of removing the offender or transferring Ms.
                Saunders-Velez to a female facility, however, CDOC placed Ms.
                Saunders-Velez in “the hole” which is the same as solitary confinement.
                While in the hole, she is denied privileges afforded all other inmates,
                including the use of a phone except during very limited times, she cannot
                access her job or mental health programs, and she is removed from her
                support group. Id. at ¶ 46.

            •   When Ms. Saunders-Velez did report the threats to CDOC, CDOC put Ms.
                Saunders-Velez in the hole. Desperate to get out of solitary confinement,
                Ms. Lindsay-Velez was forced to recant the threats and was then placed
                back into the same living unit. Id. at ¶ 49.

            •   CDOC has placed Ms. Saunders-Velez in the hole despite being notified,
                by both Ms. Saunders-Velez and her legal counsel, that Ms. Saunders-
                Velez suffers extreme anxiety and has suicidal ideas while in solitary
                confinement. Placement of Ms. Saunders-Velez in solitary confinement
                when she complains of threats from other inmates significantly deters her
                from reporting those threats and is akin to punishing her for reporting the
                threats. Id. at ¶ 47.

            •   Every time Ms. Saunders complains about a sexual assault against her,
                she is strip searched. Id. at ¶¶ 59 and 60.

            •   Every time that Ms. Saunders-Velez leaves or enters a new facility,
                transfers between living units, meets with her mental health provider or
                therapist, or meets with her legal counsel, she is strip searched. Id.

            •   Every time Ms. Saunders-Velez has been sent to the hole or “removed
                from population,” she is “manually” strip searched, meaning that she is
                physically touched, including her private areas, during the search. Ms.
                Saunders-Velez estimates that, in the past year, she has been strip
                searched approximately one dozen times by male guards. On or about
                December 9, 2017, for example, she was stripped naked and manually
                searched by a male officer while her hands were cuffed. She has since
                been strip searched by male guards despite her express objections on three
                other instances. During these strip searches, male guards removed Ms.
                Saunders-Velez’s clothes, lifted her penis, groped her breasts, and required
                her to spread her butt cheeks. These strip searches are not only physically
                painful, they are extremely humiliating. Id.

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            •   After Ms. Saunders-Velez complained about the threats against her on
                May 21, 2018, Ms. Saunders-Velez was told that she was going to be
                taken to the hole. First, she was taken to the infirmary for a pre-
                segregation anatomical, where the standard procedure is for a female
                medical staff to perform a visual inspection to ensure the inmate has no
                injuries, with male officers present. Ms. Saunders-Velez, cuffed and with
                leg shackles, protested against being searched in front of male officers and
                refused to take off her clothes. Parts of her clothing were then lifted for a
                visual inspection. Ms. Saunders-Velez was then taken to the segregation
                housing unit for a pre-housing strip search, her hands cuffed behind her
                back and her wrists restrained. She again refused to participate in another
                strip search - but given the restraints would not have been able to
                physically remove her own clothing. Her clothing was then cut off of her
                and she was forced to the ground and her breasts and genital area touched
                by the male guards. As has occurred before, Ms. Saunders-Velez received
                a disciplinary write-up for refusing these searches, suffered a loss of
                privileges, and had the date for her parole hearing delayed. Id. at ¶ 60.

            •   Ms. Saunders-Velez was raped the second time at CTCF in April 2018.
                Afterwards, there was wide-spread media coverage regarding her
                allegation that she was raped. In response, the Warden at CTCF,
                Defendant Romero, met with other transgender inmates at the facility and
                arranged for them to speak to the press and participate in photo shoots. In
                that press coverage, those inmates criticized Ms. Saunders-Velez for
                reporting the rape and claimed that she either asked for it or called her a
                liar – although none of them witnessed the event. Ms. Saunders-Velez was
                then housed in the same unit as these individuals who were openly hostile
                to her, despite her repeated requests to be transferred to another living
                unit. Id. at ¶ 48.

            •   The searches of Ms. Saunders-Velez were not conducted in exigent
                circumstances and were not performed by medical practitioners (other
                than the anatomical inspections), as required by PREA regulations and in
                violation of Ms. Saunders-Velez’s constitutional rights. Id. at ¶ 61.

            •   The searches of Ms. Saunders-Velez were not reasonably related to
                legitimate penological interests of the Defendants. Id. at ¶ 76.

            •   Defendants fail to screen inmates appropriately or use available
                information to separate vulnerable inmates from likely aggressors and
                ignore that transgender inmates are substantially vulnerable to future
                abuse. Id. at ¶ 50.



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            •   Defendants also fail to provide proper staffing and videotaping in certain
                Cell House areas, including in Cell House 1 in CTCF. Id. at ¶ 51.

            •   Defendants repeatedly violated Ms. Saunders-Velez’s constitutional rights
                by failing to provide her with medically necessary treatment for her
                Gender Dysphoria. Id. at ¶ 52.

            •   Contrary to her required medical treatment and WPATH Standards of
                Care, the PREA and Ms. Saunders-Velez’s constitutional rights,
                Defendants have prohibited Ms. Saunders-Velez from expressing her
                female gender in a variety of ways, including: by prohibiting her from
                purchasing and wearing feminine clothing approved by the CDOC for
                women and only providing undergarments that suppress her identity as a
                woman; by prohibiting her from following grooming standards approved
                by the CDOC for women, including growing her hair; and by prohibiting
                her from using items that other female inmates are permitted to purchase
                and use, including cosmetic and toiletry items appropriate for her gender
                identity such as facial hair remover. Id. at ¶ 64.

            •   Ms. Saunders-Velez has been disciplined and threatened with discipline
                for wearing makeup. Id. at ¶ 65.

            •   Despite the expert opinion that it was a necessary part of Ms. Saunders-
                Velez’s medical treatment that she be allowed to identify as a woman,
                Defendants refuse to allow her to be addressed by feminine pronouns. Id.
                at ¶¶ 67, 68, 69, 70.

            •   Ms. Saunders-Velez has been referred to as a “tranny” by an officer at
                CTCF. Id. at ¶ 69.

            •   Defendants were aware that the medically accepted standards of treatment
                for Gender Dysphoria include allowing the person with the dysphoria to
                express the person’s gender identity, to live in a community that respects
                the person’s gender identity and provides protection against victimization
                of these individuals. Id. at ¶ 80.

            •   Defendants knew that the failure to treat Plaintiff’s Gender Dysphoria
                consistent with prevailing medical standards for treating her condition
                placed her at substantial risk of self-mutilation, auto-castration, and severe
                emotional distress. Id. at ¶ 81.

            •   With deliberate indifference, malice and/or reckless disregard for Ms.
                Saunders-Velez’s serious medical needs, Defendants have routinely
                denied Ms. Saunders-Velez adequate medical treatment by housing her in
                a male facility without adequate safeguards for her safety and mental

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                       health well-being, subjecting her to repeated pat down and strip searches
                       by male guards, refusing to train DOC staff on how to appropriately
                       accommodate, treat, and communicate with Plaintiff and other individuals
                       with Gender Dysphoria, and by refusing to allow her to live her daily
                       existence in a manner consistent with her gender identity. Id. at ¶¶ 82 – 84.

                   •   As a result, Ms. Saunders-Velez has suffered extreme harm. Id. at ¶ 85.

              B.       Plaintiff has Adequately Pled A Fourth Amendment Claim for Relief.

              Although a person has limited privacy rights while in custody, the Fourth Amendment

    still mandates that searches that invade a person’s privacy must be reasonable. Whether a pat-

    down or strip search of a person in custody is reasonable requires a case-by-case analysis that

    considers the scope of the intrusion and the manner in which it occurred, as well as the

    justification for the search and the place in which it occurred. Bell v. Wolfish, 441 U.S. 520, 559

    (1979).

              The Tenth Circuit has held that even one instance of a visual body cavity strip search

    being conducted of a person in custody in the presence of the opposite sex can violate the Fourth

    Amendment. Hayes v. Marriott, 70 F.3d 1144 (10th Cir. 1995). In so holding, the Court stated

    that “prisoners do retain a limited constitutional right to bodily privacy, particularly as to

    searches viewed or conducted by members of the opposite sex. . . . [and] one of the clearest

    forms of degradation in Western Society is to strip a person of his clothes. The right to be free

    from strip searches and degrading body inspections is thus basic to the concept of privacy.” Id. at

    1146 (quoting 3 Privacy Law and Practice ¶ 25.02[1] (George B. Trubow ed. (1991)).

              Over the last thirty years, “a litany” of federal cases have determined that “cross-gender

    strip searches in the absence of an emergency violate an inmate’s rights under the Fourth

    Amendment.” Byrd v. Maricopa County Sheriff’s Dep’t , 629 F.3d 1135 (9th Cir. 2011)

    (discussing cases from the First, Fourth, Seventh, and Tenth Circuits); also see Moore v.

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    Carwell, 168 F.3d 234, 235 (5th Cir. 1999) (conducting a cross-gender strip search in the

    absence of an emergency can give rise to a Fourth Amendment violation); Richmond v. City of

    Brooklyn Ctr., 490 F.3d 1002, 1008 (8th Cir. 2007) (the law has been clear since 2001 that “strip

    searches should be conducted by officials of the same sex as the individual to be searched.”).

           In its motion, Defendants summarily state that “[g]iven that Plaintiff has not completed

    sex reassignment, Plaintiff’s allegations fail to show that being searched by male staff is

    unreasonable under the Fourth Amendment.” Defs’ MTD [Doc. 78, p. 4]. Defendants cite no law

    in support of this proposition. Instead, Defendants appear to assert that these searches are

    conducted for the purpose of “legitimate penological interests” and thus Plaintiff’s Fourth

    Amendment claim must fail as a matter of law.

           Defendants are correct that Plaintiff is not disputing that there may be a legitimate

    penological interest in conducting searches of those in custody. It is also correct that this case

    concerns the issue of the identity of the person conducting the search, rather than the manner of

    the search itself. But Defendants’ summary conclusion that allowing male guards to conduct

    strip searches of those individuals who identify as female is per see “constitutional” – at least

    until the person has gender conforming surgery – has no legal basis. Defendants’ motion to

    dismiss this claim should be denied.

    II.    Plaintiff Has sufficiently Pled a Claim for Relief under the Eight Amendment.

          Here, Defendants admit that Ms. Saunders-Velez has a serious medical need as a result of

    her diagnosis of Gender Dysphoria. Defendants’ only argument is that she has not sufficiently

    alleged that the refusal to provide her with specific treatments creates an “excessive risk” to her

    health and safety. Defs’ MTD [Doc. 99, p. 5]. In support of their argument, Defendants state that

    this is just a “disagreement” over appropriate treatment, that there is “no evidence” that

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    Defendants failed to make informed judgments about Plaintiff’s treatment, and that Defendants

    are allowed to disregard the expert opinion of Dr. Thor to the contrary. Id. at p. 5-7. In sum,

    Defendants are arguing that they can dispute Ms. Saunders-Velez’s factual allegations and that

    this suffices for Rule 12(b)(6) purposes. Again, Defendants confuse the standard to allege

    sufficient facts to state a claim for relief with the standards of proving a claim.

           In her Third Amended Complaint (Corrected), Ms. Saunders-Velez has alleged that she

    has Gender Dysphoria and, as a result of Defendants’ conducther, she has engaged in self-

    mutilation, has suicidal tendencies, severe anxiety, depression and other serious mental health

    symptoms. She alleged that she attempted suicide while previously in the custody of the State

    of Colorado because of its failure to adequately treat her Gender Dysphoria by refusing to allow

    her to live in conformity with her gender identity. Ms. Saunders-Velez has also alleged that

    placing her in solitary confinement when she is sexually assaulted and subjecting her to

    searches by male guards without exigent circumstances has exacerbated her mental health

    condition and increases her urges to self-harm. She alleges Defendants are aware of all of these

    facts and knowingly fail to provide her necessary medical treatment for her serious medical

    condition. As such, Ms. Saunders-Velez has more than sufficiently alleged a claim under the

    Eighth Amendment. See Kothmann v. Rosario, 558 F. App’x. 907, 908 2014 U.S. App. LEXIS

    4263 **, 2014 WL 889638 (11th Cir. 2014) (pre-operative transgender woman sufficiently

    stated an Eighth Amendment claim for relief when she alleged that defendant knew of her

    Gender Dysphoria diagnosis, provided her hormone therapy as a result of an earlier lawsuit,

    that defendant did not adequately address plaintiff’s serious medical needs, and defendant was

    aware that its treatment (or lack thereof) of plaintiff was resulting in plaintiff’s urges to self-

    harm. The Court specifically rejected the argument that defendants’ decision to provide some
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    treatment precluded a claim under the Eighth Amendment.); Diamond v. Owens, 131 F. Supp.

    3d 1346, 1371-1374 (M.D. Ga. 2015) (plaintiff sufficiently stated Eighth Amendment claim for

    relief when she alleged: defendants were aware of plaintiff’s gender dysphoria diagnosis, were

    aware of the medically accepted and recognized treatment for the condition and plaintiff’s

    request for ongoing treatment and care, refused to provide plaintiff with care that was requested

    or recommended by previous evaluations, and aware of her attempts to commit suicide and

    self-harm); De’Lonta v. Johnson, 708 F.3d 520, 525-526 (4th Cir. 2013) (pre-operative

    transgender woman sufficiently stated an Eighth Amendment claim for relief when she alleged

    that defendant knew of her Gender Dysphoria diagnosis, provided her hormone therapy as a

    result of an earlier lawsuit, that defendant did not adequately address plaintiff’s serious medical

    needs, and defendant was aware that its treatment (or lack thereof) of plaintiff was resulting in

    plaintiff’s urges to self-harm. The Court specifically rejected the argument that defendants’

    decision to provide some treatment precluded a claim under the Eighth Amendment.).

           Defendants’ contention that Ms. Saunders-Velez cannot assert an Eight Amendment

    claim based on injury based, in part, on self-harm has been flatly rejected and deserves short

    shrift. E.g., Blackmon v. Sutton, 734 F.3d 1237, 1245 (2013) (prisoner alleged Eighth

    Amendment injury by prison officials who failed to provide medical care in conscious disregard

    of prisoners known mental health problems and risk of “suicide and self-harm problems”);

    Collins v. Seaman, 462 F.3d 757, 761 (7th Cir. 2006).




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    III.   Plaintiff Has sufficiently Pled a Claim for Relief under 42 U.S.C. § 1985(2).

           A.       Plaintiff’s Well-Pled Allegations.


           As set forth in Plaintiff’s Third Claim for Relief, Defendant Mike Romero (the Warden at

    CTFC) and other unnamed members of CDOC have threatened, intimidated, and harassed Ms.

    Saunders-Velez to deter her from testifying in her case and to intimidate her into withdrawing

    her federal lawsuit, in violation of 42 U.S.C. § 1985(2). In support of her claim, Ms. Saunders-

    Velez alleged that after she filed her initial Complaint and continuing today:

                •   In April 2018, Defendant Romero and the other unnamed Defendants
                    moved Ms. Saunders-Velez into a cell unit despite knowing that she was
                    extremely vulnerable as a transgender woman with gender dysphoria and
                    that other inmates housed in that unit had threatened to assault her. She
                    was raped hours after her transfer. Id. at ¶¶ 35, 37, 50, 57.

                •   After Ms. Saunders-Velez was raped, Defendant Romero and the other
                    unnamed Defendants placed Ms. Saunders-Velez in solitary confinement
                    despite knowing she suffers extreme anxiety and has suicidal ideas while
                    in solitary confinement. Placement of Ms. Saunders-Velez in solitary
                    confinement when she complains of threats from other inmates
                    significantly deters her from reporting those threats and amounts to
                    punishing her for reporting the threats. Id. at ¶¶ 48-49.

                •   Knowing that Ms. Saunders-Velez is extremely vulnerable, these
                    Defendants targeted the person known to be Ms. Saunders-Velez’s
                    confidante and supporter, Mario Castillon, and disciplined him for talking
                    to Ms. Saunders-Velez. Id. at ¶ 57.

                •   After she was raped for a third time while in CDOC custody, Ms.
                    Saunders-Velez’s story received extensive media coverage. Id. at ¶ 51.

                •   Defendants and their counsel were aware of the nationwide press coverage
                    regarding Ms. Saunders-Velez. Id. at ¶ 51.

                •   Shortly thereafter, Defendant Romero held a meeting with five
                    transgender women in custody and housed at CTCF. Id. at ¶ 51.




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            •   After that meeting, the Warden arranged to have a prominent Denver
                media reporter interview these women at CTCF and take their pictures for
                publication in the Denver Post. Id. at ¶ 52.

            •   During the interview with the reporter, these five women labeled Ms.
                Saunders-Velez a “snitch” for reporting her rapes, and alternatively
                accused her of lying about the rape or “asking for it.” None of these five
                women were present when the rape occurred. Id. at ¶ 53 and Exhibit 1
                (Denver Post, “Trans Inmates Split.” May 16, 2018.)

            •   Allowing interviews of persons in custody that could be detrimental to the
                victim of a crime, as defendants arranged here, is prohibited by CDOC
                policy. Id. at ¶ 54.

            •   Defendant Romero knew when he arranged the interview that these
                women would tell the reporter that Ms. Saunders-Velez is a “snitch” and a
                “liar.” Romero was also aware that some of these women have a history of
                violence towards other inmates. Id. at ¶ 55.

            •   Upon information and belief, Defendant Romero and CDOC gave all of
                the five women more favorable treatment after they participated in the
                interview with the reporter. Id.

            •   Defendant Romero and these Defendants then assigned Ms. Saunders-
                Velez to be housed in the same cellhouse occupied by most of the five
                women. Despite knowing that these women were subjecting Plaintiff to
                daily ridicule and harassment, Romero repeatedly ignored Plaintiff’s
                complaints about the harassment, her fear of getting assaulted, and her
                requests to move her to a different location. Id. at ¶ 56.

            •   These Defendants also intentionally interfere with communications and
                meetings between and among Ms. Saunders-Velez, her legal counsel, and
                representatives of the Colorado House of Representatives. Id. at ¶ 57.

            •   These Defendants strip search Ms. Saunders-Velez [when] she meets with
                legal counsel; these searches are not conducted in exigent circumstances
                and are not performed by medical practitioners. Id. at ¶¶ 72-74.




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           B.      Race or Class-Based Animus Is Not an element of Section 1985(2) and
                   Plaintiff Has Sufficiently Alleged a Conspiracy.

           The well-settled elements of an intimidation claim under Section 1985(2) are (1) a

    conspiracy or agreement, (2) to deter testimony by force or intimidation, and (3) injury to the

    plaintiff. Brever v. Rockwell Intern. Corp., 40 F.3d 1119, 1126 (10th Cir. 1994).

           The District Court in Brill v. Correct Care Solutions, LLC., rejected the claim --

    presented by Defendants here -- that Ms. Saunders-Velez must expressly plead an agreement

    with particularity. 286 F. Supp. 3d 1210 *; 2018 U.S. Dist. LEXIS 32 **; 2018 WL 259511 (D.

    Colo. 2018). “The nature of conspiracies often makes it impossible to provide details at the

    pleading stage and…the pleader should be allowed to resort to the discovery process and not be

    subject to dismissal of his complaint.” Id. (quoting Brever, 40 F.3d at 1126). Thus, Ms.

    Saunders-Velez “need only allege facts sufficient to give rise to the inference that defendants

    conspired.” Brever, 40 F.3d at 1127 (citing Abercrombie v. City of Catoosa, 896 F.2d 1228,

    1231 (10th Cir. 1990)). Merritt v. Hawk, 153 F. Supp. 2d 1216. 1225 (D. Colo. 2001) (‘Plaintiff

    need not offer direct evidence. Rather, conspiracy can be shown by a sequence of events from

    which a reasonable jury could infer there was a meeting of the minds.”).

           Ms. Saunders-Velez has more than met that pleading standard. As set she details in the

    Third Amended Complaint, after she filed her lawsuit, Romero and unnamed employees and

    agents of CDOC worked together to punish her and deter her from litigating her case by refusing

    cell transfers she requested to avoid being assaulted, penalizing her known supporter for talking

    to her, coordinating with other transgender inmates known to be hostile to her to have them

    speak to the press while at the same time providing them with benefits, and by transferring her

    into these women’s prison unit knowing that they had vehemently expressed hostility towards


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    her. Ms. Saunders-Velez did not simply allege “parallel action or inaction” consistent with

    “innocent behavior” by Defendant Romero, his staff, and the five transgender inmates, as

    Defendants claim. Rather, Ms. Saunders-Velez described coordinated efforts and behavior that

    cannot be simply passed off as standard prison procedure. Indeed, Ms. Saunders-Velez alleges

    that Defendant Romero violated at least one CDOC policy in order to intimidate her.

           Finally, Defendants argue that Ms. Saunders-Velez has not alleged that Defendants’ acts

    of intimidation actually deterred her from subsequently pursuing her lawsuit – “[i]n fact, the

    exact opposite could [sic] said.” Motion [Doc. 99] p. 8. Defendants again miscontsrue the law. It

    is not necessary for Ms. Saunders-Velez to allege she was actually deterred from testifying. See

    Brever, 40 F.3d at 1129 (“The purpose of section 1985(2) is ‘to protect citizens in the exercise of

    their statutory and constitutional rights’ …. [t]his purpose would clearly be undermined if

    defendants who, despite their best efforts, were unsuccessful in keeping a witness off the stand

    could avoid the consequences of their actions”) (citation omitted).

           Accordingly, the Court should deny Defendants’ Motion to Dismiss Plaintiff’s Third

    Claim for Relief.

    IV.    Defendants are Not Entitled to Qualified Immunity as to Plaintiff’s Third Claim for
           Relief.

           Defendants are not entitled to immunity with respect to Plaintiff’s Third Claim for Relief

    against Defendant Romero (sued in his individual capacity) for violating Section 1985(2).

           As an initial matter, Defendants improperly rely on case law at the summary judgment

    stage, contending that Ms. Saunders-Velez faces a heightened pleading standard (a “heavy

    burden”) in pleading qualified immunity. Not so – her burden is mere plausibility. See Peterson

    v. Jensen, 371 F.3d 1199, 1201-1202 and n.3 (10th Cir. 2004) (“a Rule 12(b)(6) motion…


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    subjects the defendant to a more challenging standard of review than would apply on summary

    judgment,” the latter being the “typical vehicle” for such a motion); Behrens v. Pelletier, 516

    U.S. 299, 309 (1996) (“At [the motion to dismiss] stage, it is the defendant’s conduct as alleged

    in the complaint that is scrutinized for ‘objective legal reasonableness.’”).

           When a defendant asserts a qualified immunity defense in a motion to dismiss, the Court

    determines (1) whether a complaint’s allegations are sufficient to show that the defendant

    violated a constitutional or statutory right and (2) whether the constitutional or statutory right

    was clearly established when the alleged violation occurred. Chrisco v. Hayes, Civ. No. 17-cv-

    00072-MSK-MEH, 2017 U.S. Dist. LEXIS 187935 (D. Colo. Nov. 13, 2017). A right is “clearly

    established” if Supreme Court or Tenth Circuit case law exists on point or if the “clearly

    established weight of authority from other circuits” found a constitutional violation from similar

    actions. Murrell v. School Dist. No. 1, 186 F.3d 1238, 1251 (10th Cir.1999).

           Ms. Saunders-Velez has sufficiently pled facts showing that Defendant Romero and other

    unnamed CDOC employees and agents violated 42 U.S.C. § 1985(2), as explained in Section III

    above. The text of Section 1985(2) is unambiguous and the law was clearly established in 1996

    that deterring a witness from participating in a federal action violates Section 1985(2). Brever, 40

    F.3d at 1128-1129. See also Kinney v. Weaver, 301 F.3d 253, 264-265 (5th Cir. 2002) (denying

    qualified immunity on summary judgment, recognizing the clearly established breadth of Section

    1985(2)). None of the cases relied on by Defendants in their cursory argument address Section

    1985. Accordingly, the Court should reject Defendants’ claims of immunity.




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                                             CONCLUSION

           For the reasons expressed above, Plaintiff respectfully requests that this Court order

    Defendants to file an Answer and to set a trial date so that a determination of the merits can be

    made without further delay.

           DATED this 11th day of December 2018.

                                                  Respectfully submitted,

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                                     CERTIFICATE OF SERVICE

            I hereby certify that on this 11th day of December 2018, I electronically filed the foregoing
    RESPONSE TO MOTION TO DISMISS THIRD AMENDED COMPLAINT [DOC. 99]
    with the Clerk of the Court using the CM/ECF system which will send notification of such filing
    to the following e-mail addresses:

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